      Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 1 of 10




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

EQUALITY FLORIDA, et, al,

                         Plaintiffs,            Case No: 4:22-cv-00134-AW-MJF
vs.

RONALD DION DESANTIS, in
his official Capacity as Governor
of the State of Florida, et al,

                     Defendants.
_________________________________/

            DEFENDANT, PASCO COUNTY SCHOOL BOARD’S
             MOTION TO DISMISS FOR IMPROPER VENUE


      COMES NOW, Defendant, PASCO COUNTY SCHOOL BOARD

(“Pasco”), pursuant to Federal Rules of Civil Procedure 21 and 12(b)(6), (3) and

(1), moves the Court for an Order dismissing the Plaintiffs’ Complaint as to Pasco

for improper venue, and states as follows:

                        PRELIMINARY STATEMENT

      1.    Plaintiffs are a collection of two (2) entities, four (4) students, nine (9)

parents, and 2 teachers (See ¶¶ 25 – 81) who make various challenges to the

constitutionality of Florida State legislative act entitled House Bill 1557 (also




                                       Page 1 of 10
     Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 2 of 10




known as “H.B. 1557”)1 and seek declaratory and injunctive relief against the

application thereof. (See ¶¶ 261 – 317) Such legislative act was passed by the

Florida legislature on March 8, 2022, signed into Florida Law by the Defendant,

Ronald Dion Desantis, in his official Capacity as Governor of the State of Florida,

on March 28, 2022, and becomes effective July 1, 2022.2

      2.     There is no allegation in the Complaint that the Pasco participated in

the creation, drafting, or passage of such legislation, nor that Pasco has any

authority to have done so.

      3.     To establish jurisdiction and venue, the Complaint makes only a

general statement that “Defendant’s are public officials in the State of Florida, they

are sued in their official capacities, and certain Defendants maintain their principal

headquarters in this District….” (See ¶22)

      4.     The only allegation made in the Complaint that any plaintiff has any

contact to Pasco County, Florida, is that Plaintiff, Washington, is a “drama teacher

at Union Park Charter Academy in Pasco County.” (See ¶ 79).



1
   As codified, H.B. 155 creates new subsections to the existing statutory
provisions of §1001.42(8), Fla. Stat., inserting the substantive language about
which the Plaintiffs complain in this action.
2
  While this information is not specifically set out within the four corners of the
complaint, it is offered only as background and is based upon State official record
information      of     the     Florida    House      of     Representatives     at
https://www.myfloridahouse.gov/Sections/Bills/billsdetail.aspx?BillId=76545.
                                     Page 2 of 10
     Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 3 of 10




      5.       Pasco is a district school board, charged by state law with the

operation and authority only over public schools in Pasco County, Florida, and it

has no corporate or physical presence within the Northern District.

                               MOTION TO DISMISS

      6.       Plaintiffs’ Complaint against Pasco should be dismissed for improper

venue for the following reasons: (A) Pasco appears to be little more than a nominal

party improperly or mistakenly joined to this action despite having no virtually no

relationship to the dispute, nor physical contacts with the district; and (B) the home

venue privilege permits Pasco to insist venue for any claim against it be

adjudicated in the Middle District of Florida.

(A) Pasco appears to be little more than a nominal party improperly or
mistakenly joined in this action.

      7.       While Plaintiffs allege that Pasco “is a district school board organized

and governed pursuant to Fla. Stat. § 1001.34 et seq.,” the Plaintiffs omit or are

unaware that Pasco, as a school board, is organized and governed by the Florida

Constitution as the governmental agency duly empowered to administer, manage,

and operate” public school within Pasco County, Florida. See, Art. IX, Sec. 4.,

Fla. Const.3


3
 See also, §1003.02, Fla. Stat., which provides in pertinent part, “As provided in
part II of chapter 1001, district school boards are constitutionally and statutorily
charged with the operation and control of public K-12 education within their
school districts.”
                                      Page 3 of 10
      Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 4 of 10




      8.      No allegation asserts that Pasco has or had any contacts with this

venue.     Pasco is not alleged to have any jurisdictional authority over any of the

Plaintiffs within the venue of this Court; nor to have conducted any business

activity or been involved in any enterprise giving rise to this action with the

Plaintiffs within the venue of this Court.           Pasco respectfully asserts that the

Northern District is an inappropriate venue for litigation against it in this matter.

      9.      Additionally, the only Plaintiff who alleges any relationship with

Pasco is Myndee Washington, who alleges she is a “drama teacher at Union Park

Charter Academy in Pasco County.” See ¶ 79. Plaintiff, Washington fails to note

that Union Park Charter Academy is a separate legal entity from Defendant, Pasco,

and that, as such, Washington is NOT an employee of Defendant, Pasco, and is not

subject to any direct management, supervision or control of Defendant, Pasco.

Thus, any direct relationship between Washington and Defendant, Pasco, is

virtually non-existent -- remote and/or tenuous, at best.

(B) The home venue privilege permits Pasco to insist venue for any claim against
it be adjudicated in the Middle District of Florida.

      10.     Under Florida Law, School Boards as political subdivisions are

entitled to a home venue privilege to be sued within the venue assigned to its

principal geographical location – for Pasco, this would be Pasco County Florida, or

the Federal Court for the Middle District of Florida.



                                      Page 4 of 10
     Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 5 of 10




                             MEMORANDUM OF LAW

      11.   For the purposes of determining the authorized and appropriate venue

for litigation of Federal questions, 28 U.S.C. 1391, provides in pertinent part as

follows:

            (b) Venue in general. --A civil action may be brought in--
                  (1) a judicial district in which any defendant resides, if all
            defendants are residents of the State in which the district is
            located; …

            (d) Residency of corporations in States with multiple districts.--
            For purposes of venue under this chapter, in a State which has
            more than one judicial district and in which a defendant that
            is a corporation is subject to personal jurisdiction at the time an
            action is commenced, such corporation shall be deemed to
            reside in any district in that State within which its contacts
            would be sufficient to subject it to personal jurisdiction if
            that district were a separate State, and, if there is no such
            district, the corporation shall be deemed to reside in the district
            within which it has the most significant contacts.

      12.   This provision has been interpreted to require courts to “focus on

relevant activities of the defendant, not of the plaintiff.” (Emphasis added.)

See NuTek International, Inc., v Moxley-West, 2014 WL 12623811 at *4.

Moreover, the court’s analysis regarding venue should “ensure that a defendant is

not hailed into a remote district having no real relationship to the dispute.” See

Hemispherx Biopharma, Inc. v. MidSouth Capital, Inc., 669 F.Supp.2d 1353, 1357

- 1358 (2009) (citing, Jenkins Brick Co., v. Bremer, 321 F.3d 1366, 1371-72 (11th

Cir. 2003), and Woodke v Dahm, 70 F.3d 983, 985 (8th Cir. 1995). See also, Vivant


                                    Page 5 of 10
     Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 6 of 10




Pharms., LLC v. Clinical Formula, LLC, No. 10–21537, 2011 WL 1303218, (S.D.

Fla. Mar. 31, 2011).

      13.    Rather than alleging that Pasco has any relationship to the dispute or

this District, the Complaint generally alleges a legal conclusion of jurisdiction and

venue of this Court, as follows:

             22. This Court has personal jurisdiction over Defendants, and
             venue is proper in this District pursuant to 28 U.S.C. §
             1391(b), because Defendants are public officials in the State
             of Florida, they are sued in their official capacities, and
             certain Defendants maintain their Principal headquarters
             in this District. Defendants reside within this District and/or
             perform official duties within Florida. (Emphasis added.)


(A) Pasco appears to be little more than a nominal party improperly joined in
this action.

      14.    As a school board within the State of Florida, Pasco has power and

authority to act within the District of Pasco County, Florida.

      15.    Article IX, Section 4 of the Constitution of the State of Florida,

provides as follows:

             (a) Each county shall constitute a school district; provided,
             two or more contiguous counties, upon vote of the electors of
             each county pursuant to law, may be combined into one school
             district….

             (b) The school board shall operate, control and supervise all
             free public schools within the school district and determine
             the rate of school district taxes within the limits prescribed
             herein….


                                     Page 6 of 10
      Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 7 of 10




      16.    The Complaint fails to allege that Pasco has any contacts within this

Court’s District, or that Pasco has engaged in any relevant action or conduct within

the venue of this Court’s District, or that Pasco has the legal authority to act within

this Court’s District.

      17.    More specifically, the allegations of Defendant Washington, address

her impressions and concerns, but fail to address any specific action taken by

Pasco relative to matters within the Complaint. See ¶¶ 79 – 81, 92, 222 – 223, 225,

228 – 230, 232, 239, 266, 270, and 304

      18.    Likewise, the Complaint fails to allege any of the Plaintiffs located

within the Northern District’s geographical venue have been or will be affected by

any specific action taken by or conduct of Pasco.

      19.    Additionally, Defendant Washington is not an employee of Pasco.

Rather, she is an employee of the separate legal entity, Union Park Charter

Academy, a public charter school operating within Pasco County Florida pursuant

to § 1002.33, Fla. Stat.

      20.    Under Florida law, charter schools, such as Union Park Charter

Academy, are operated by independent governing boards, which are separate legal

entities from the School Board. Most significantly, some of statutory rights under

which a charter school such as Union Park Charter Academy, enjoy include the

following:


                                     Page 7 of 10
      Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 8 of 10




             A.     The right to select its own employees, (which are not

      employees of Pasco); §1002.33(12)(a), Fla. Stat.

             B.     Adopt its own policies (which are separate from the policies of

      Pasco4); §1002.33(12)(g)(3), Fla. Stat., and

             C.     The exemption from “all statutes in chapters 1000-1013.

      §1002.33(16)(a), Fla. Stat.

      21.           For the reasons stated above, Defendant, Pasco, appears to be

little more than a nominal party improperly joined in this action, and has not

engaged in conduct that subjects it to the venue of this Court.


(B) The home venue privilege permits Pasco to insist venue for any claim against
it be adjudicated in the Middle District of Florida.


      22.    Under state law, the authorized and appropriate venue for litigation on

such statute is established by §47.011, Fla. Stat., which provides as follows:

             Actions shall be brought only in the county where the defendant
             resides, where the cause of action accrued, or where the
             property in litigation is located.


4
 Also related and significant to understanding the significance of this provision is
1002.33(5)(b)(1)(d), which provides, “The sponsor shall not apply its policies to
a charter school unless mutually agreed to by both the sponsor and the
charter school. If the sponsor subsequently amends any agreed-upon sponsor
policy, the version of the policy in effect at the time of the execution of the charter,
or any subsequent modification thereof, shall remain in effect and the sponsor may
not hold the charter school responsible for any provision of a newly revised policy
until the revised policy is mutually agreed upon.” (Emphasis added.)
                                      Page 8 of 10
    Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 9 of 10




      23. Under Florida law, Pasco is the governing body of the Pasco School

District, and the corporate governmental agency empowered by the constitution

and statutes of the State of Florida to administer, manage, and operate” the public

schools within Pasco County, Florida. 1001.40, Fla. Stat.; Art IV, §4, Fla. Const.

      24. Since Pasco has not, through any action or conduct, submitted itself to

the venue of this Court’s District, Pasco has and hereby asserts its State and

common law “home venue privilege” to be sued in the county where it maintains

its principal headquarters.   See, § 47.011, Fla. Stat.; and School Bd. of Osceola

County v. State Bd. of Educ., 903 So.2d 963, 966 (Fla. 5th DCA 2005).

      25.   Such home venue privilege was created by common law, and among

other things, the privilege is intended to "promote orderly, efficient, and

economical government" by allowing governmental entities to be sued in the

county of their headquarters, "where such suits can be defended at a minimum

expenditure of effort and public funds." Smith v. Williams, 35 So.2d 844 (Fla.

1948); Florida Dept. of Children and Families v. Sun-Sentinel, 865 So.2d 1278,

1287 (Fla. 2004) ("Sun-Sentinel II"). See also, Fish & Wildlife Conservation

Com'n v. Wilkinson, 799 So.2d 258, 263 (Fla. 2d DCA 2001).

      26. In consideration of these principles, Pasco asserts that the Plaintiffs’

venue selection in this venue is inappropriate as it relates to any claim against

Pasco.


                                    Page 9 of 10
     Case 4:22-cv-00134-AW-MJF Document 60 Filed 06/20/22 Page 10 of 10




                                  CONCLUSION

      For the aforementioned reasons, Pasco should be dismissed from the relief

requested by the Complaint based upon Plaintiff’s choice of improper venue

against Pasco and based upon Pasco’s home venue privilege.



Dated 20 June 2022                     MCCLAIN ALFONSO, P.A.
                                       Post Office Box 4
                                       37908 Church Avenue
                                       Dade City, Florida 33526-0004
                                       Telephone: (352) 567-5636
                                       Facsimile: (352) 567-6696
                                       Email: DAlfonso@mcclainalfonso.com
                                       Secondary email: Eserve@mcclainalfonso.com
                                       Attorney for the Defendant,
                                             Pasco County School Board

                                       s/ Dennis J. Alfonso

                                       DENNIS J. ALFONSO, Esquire
                                       Florida Bar Number: 843271



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the undersigned electronically filed the

foregoing with the Clerk of the Court via the CM/ECF system on June 20, 2022,

and requested the Clerk provide electronic notification to all counsel of record.

                                       s/ Dennis J. Alfonso

                                       DENNIS J. ALFONSO, Esquire
                                       Florida Bar Number: 843271
                                    Page 10 of 10
